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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                Plaintiff,           )
                                     )                4:05CR3035
           v.                        )
                                     )
JOSE ENRIQUE AYALA CHAVEZ,           )
                                     )                   ORDER
                Defendant.           )
                                     )



     IT IS ORDERED:

     1. The motion of counsel for defendant to withdraw,
filing 16, is granted and the clerk shall mail a copy of this
order to the defendant at his last known address.

     2. Defendant is given 10 days from the date of this order
in which to either: (1) obtain the services of substitute counsel
and have that attorney file an appearance in his behalf or, (2)
file a financial affidavit setting forth his present financial
status, requesting the appointment of counsel.

     DATED this 16th day of May, 2005.


                                    BY THE COURT:


                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
